            Case 2:21-cv-03459-MMB Document 26 Filed 11/08/21 Page 1 of 1




                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   JANE DOE                                                            CIVIL ACTION

   v.                                                                  NO. 21-3459

   DELAWARE COUNTY JUVENIILE,
   DETENTION CENTER, et al.,

                                                             ORDER

          AND NOW, this 8th day of November, 2021, it is hereby ORDERED that Defendant’s

Motion to Dismiss (ECF 18) is DENIED as MOOT because Plaintiff filed an Amended Complaint

on November 2, 2021 (ECF 21) and has voluntarily dismissed Defendants Court of Common Pleas

32nd Judicial District of Pennsylvania and Pennsylvania Department of Human Services (ECF 23;

25).


                                                              BY THIS COURT:

                                                              /s/ MICHAEL M. BAYLSON
                                                              ______________________________
                                                              MICHAEL M. BAYLSON
                                                              United States District Court Judge




O:\CIVIL 21\21-3459 Doe v. Delaware County Juvenile Detention Center et al\21cv3459 Order to Dismiss.docx
